Case 1:19-cr-00018-ABJ Document 322 Filed 02/19/20 Page 1 of 2

February 15, 2020
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my B. Jackson “Date
United States District Judge

Stone Case much more than concern over the correct Sentence
The American Justice System and rule of law lies in the balance

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Dear Judge Berman Jackson,

It is 4am on Saturday morning. Like many nights over the last three years, | am unable to sleep over
the concerns of the threats to American democracy as exhibited by the current Trump Administration. Our
democracy is founded based on the rule of law.

As | explained to our children, we vote in representations to Congress, they work together
(sometimes) to construct bills, that then get voted on to become laws. These laws get scrutinized and
defended over decades of argument in the courts, and strengthened in their application and appropriateness.
And we all are subject to them. A society of laws that the rest of the world admires, especially in those
countries without it.

And then, in pure impulse, on a whim, we have an Attorney General who wants to weigh in on
specific cases, interference with career prosecutors and usurp those laws and standards based on his own
personal beliefs or to curry favor with this President. And a President that wants to use his power to offer
favorable treatment to his “friends” and investigate the innocent who may be his political “enemies”. The
replacement of the Rule of Law by a crony applicable of favor and punishment for “friends and enemies” is
exactly what authoritarian regimes have.

Judge Jackson, you are in a unique position in our country at this time in the Roger Stone case. While
the 6th Amendment to the U.S. Constitution provides that those accused “shall enjoy the right to a speedy
trial", our system of justice is specifically not swift. It allows for prolonged appeals and challenges to ensure
those wrongfully convicted are acquitted and those rightfully convicted get the sentences they deserve.
Sentences they deserve by the American Rule of Law. Not arbitrary sentences handed down for “friends and
enemies”.

| have full confidence in your integrity and know you will weigh the full facts in the Roger Stone case
in their entirety before sentencing, including standard sentencing guidelines and both versions of the
sentencing recommendation briefs presented to you by two different teams of U.S. prosecutors.

However, this is not what has kept me from my sleep this particular morning. There is no doubt by
any of us that no matter what you do, no matter what sentence appropriate or not for Roger Stone’s crimes
that you hand down, that within the 24-48 hours following your sentence, this President will most assuredly
pardon Roger Stones as a “friend” for all this crimes.

And while it is in the President’s authority to offer pardons, it is not in his authority to offer pardons
for corrupt purposes. And the pardon that will be coming next week will be clearly offered for a corrupt
purpose. It will be to reward a man who lied and coerced witnesses for the specific purposes of covering up
the wrong doings of the same President and his campaign — the same President now who will more assuredly
offer him a pardon. And it will not be for time served by Roger Stone, or correctly an injustice implemented
by the courts. It will be a pardon with a purely corrupt purpose and intent from a President that both does
Case 1:19-cr-00018-ABJ Document 322 Filed 02/19/20 Page 2 of 2

not understand nor respect our system of laws. It will negate your sentence, ignore the Rule of Law, and set
us ona pass of random, arbitrary justice.

At this unique time, you have the opportunity to look beyond your current role as judge for the U.S.
District Court for the District of Columbia. You have the opportunity to look beyond simply ensuring Roger
Stone gets the right initial sentence, and play a role to ensure the American justice system AT LARGE prevails
over a system of “friends and enemies”.

And given the high probability of a corrupt Presidential pardon to follow your sentence, there is only
one way to ensure true justice is served. Use the authority of your court to understand better why an initial
sentencing recommendation was overturned by the U.S. prosecutors. Use the authority of your court to
understand better what inappropriate interference existed from the Attorney General in this case. The time
you need to do this can and should defer sentencing for a period of time. If it takes until those interfering in
the scales of justice retract a bit, until the waters calm down to provide a fully informed, appropriate
sentence, so be it. May be this continuation will require additional court hearings and a sentence later in the
year, July or Sept 2020. Or maybe, the ONLY way to sure justice according to the rule of law gets applied is to
delay sentencing until January 20, 2021.

| know it is not your role to interfere or try to stop the corrupt use of the Presidential pardon, but it is
your role to ensure the proper sentence gets not only handed down but also applied. If your sentence is
handed down, but never applied, not only will your sentence be ignored, but the entire Justice system will be
permanently harmed.

Use this time to better vet the interference that took place and continue to take place, to understand
the rational for revised recommendations, hear from all parties involved, and ensure the environment is such
when your sentence is given that it too will be applied and enforced versus immediately ignored. Continued
hearings with a deferred sentencing date are one way to do this and safeguard our justice system.

No argument of mistrial or lack of speedy sentence should be valid counter arguments. The
interference in this case by the Attorney General, by a President intimidating jurors and yourself with public
rhetoric through tweets and press briefings, and insinuations of an upcoming corrupt pardon, created this
environment. They created this environment. An environment that provides you with no choice other than to
learn more prior to sentencing and ensure when sentencing comes it will be provided in an environment
where both your sentence and the American rule of law will not be immediately and completely disregarded.

This is more than simply providing the right sentence. This is about protecting the Rule of Law and
respect for the American Justice System. Our hopes and prayers are with you at this trying time!

Sincerely,

Alan Jacobs
New Jersey
